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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

    -v.-                                                           S2 20 Cr. 330 (AJN)

GHISLAINE MAXWELL,

                   Defendant.




                      THE GOVERNMENT’S MOTIONS IN LIMINE




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                                PRELIMINARY STATEMENT

       The Government respectfully submits the following motions in limine.             First, the

Government respectfully requests that the Court protect the dignity and privacy of victims by

permitting certain witnesses to testify under pseudonyms or using only their first names, and

permitting the filing of related trial exhibits under seal. Second, the Government moves to admit

prior consistent statements made by the minor victims in this case. Third, the Government

moves to preclude the defense from distracting the jury with irrelevant and confusing testimony

and argument relating to the investigative and prosecutive decisions of law enforcement agents

and prosecutors. In particular, the Government moves to preclude the defense from calling

agents from the Federal Bureau of Investigation (“FBI”), in an improper effort to put the

Government on trial. Fourth, and relatedly, the Government respectfully requests that the Court

preclude the defense from offering argument or evidence at trial in support of the defense’s

unfounded theory that the Government is prosecuting the defendant for nefarious reasons. Fifth,

the Government moves to preclude the defense from attempting to impeach the credibility of

individuals who will not be witnesses at trial. Sixth, consent is not a legal defense in this case,

and the defense should be precluded from suggesting to the jury that the victims consented to

their abuse. Seventh, the Government requests that the Court require the defendant to explain the

relevance of any evidence she seeks to offer showing that she did not commit crimes with which

she is not charged, before she offers that evidence or makes argument based on that evidence.

Eighth, the Government requests that the Court preclude the defense from offering out-of-court

statements by the defendant, which are hearsay. Ninth, the Government moves to preclude the

defense from offering irrelevant evidence to garner sympathy for the defendant.
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                                     . Eleventh, and finally, the Government moves to preclude the

defense from misleadingly suggesting to the jury that the defendant prevailed in civil litigation

related to the facts of this case.

         For the reasons set forth below, the Court should grant the Government’s motions.

                                             ARGUMENT

    I.      The Court Should Permit Certain Witnesses to Testify Under Pseudonyms or
            Using First Names, and Permit the Sealing of Related Exhibits

         The Government requests, pursuant to the Crime Victims’ Rights Act, that the Court take

certain measures at trial to protect the dignity and privacy of victims.            See 18 U.S.C.

§ 3771(a)(8). The Government expects the four Minor Victims named in the Indictment to

testify at trial. In the course of their testimony—and the corroborating testimony of other trial

witnesses—the jury will learn that two other minors (Minor Victim-5 and Minor Victim-6) were

also victims of the conspiracies charged in the Indictment. Specifically, Minor Victim-4 will

testify that she was recruited by Minor Victim-5, and that she in turn recruited Minor Victim-6.

Neither Minor Victim-5 nor Minor Victim-6 will testify at trial.

         In order to protect the privacy of crime victims, the Government respectfully requests that

the Court take certain measures at trial, which are narrowly tailored to the particular

circumstances and privacy interests of each victim and consistent with the protections victims of

sex crimes have been afforded in recent federal trials. To be clear, the defense is already aware

of the identities of all of these victims and witnesses, and the jury will be made aware of the

identities of these victims and witnesses. The Government simply proposes measures that will

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protect against unnecessary public disclosure of their identities, in order to protect the Minor

Victims from potential harassment from the media and others, undue embarrassment, and other

adverse consequences.

       Specifically, the Government requests that (1) that Minor Victim-1, Minor Victim-3, and

certain witnesses related to them be referred to at trial using only pseudonyms; (2) Minor

Victim-4, Minor Victim-6, and certain witnesses related to them be referred to at trial using only

their first names; (3) the Court preclude the defense from eliciting personally identifying details

of those witnesses; and (4) the Court seal exhibits that contain the first and/or last names of

witnesses which are not otherwise permitted to be stated at trial.         Below, we address the

applicable law, before turning to the specific relief the Government requests in this case. 1

    A. Applicable Law

       The Confrontation Clause guarantees defendants the right to cross-examine witnesses

who testify against them. See, e.g., United States v. Figueroa, 548 F.3d 222, 227 (2d Cir. 2008).

This right, however, is not absolute. A defendant’s rights under the Confrontation Clause must

yield to accommodate other legitimate interests in the criminal trial process. See, e.g., id. For

instance, trial courts have “wide latitude . . . to impose reasonable limits . . . on . . . cross-

examination based on concerns about, among other things, harassment, prejudice, . . . or the

witness’s safety.” United States v. Al Farekh, 810 F. App’x 21, 25 (2d Cir. 2020) (summary


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  Simultaneously with the filing of this motion, the Government is filing a sealed letter providing
the names of the Minor Victims and witnesses identified in this section, along with certain other
personal information. The Government requests that the defense omit identifying information
from its response brief or permit the Government an opportunity to seek necessary redactions or
sealing.
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order) (alterations in original) (quoting Delaware v. Van Arsdall, 475 U.S. 673, 679 (1986)); see

Fed. R. Evid. 611(b) (imposing limits on the scope of cross-examination).

       In the context of the disclosure of witness identifying information, the Second Circuit has

identified two primary interests of defendants: “(1) obtaining information needed for in-court and

out-of-court investigation of the witness; and (2) enabling defense counsel to elicit information

that might be relevant to the jury’s deliberations as to the credibility or knowledgeability of the

witness.” United States v. Marcus, No. 05 Cr. 457 (ARR), 2007 WL 330388, at *1 (E.D.N.Y.

Jan. 31, 2007) (citing United States v. Marti, 421 F.2d 1263, 1266 (2d Cir. 1970)) (finding the

defendant’s argument that “the district court’s decision permitting two of the Government’s

witnesses to testify using only their first names and not to disclose their addresses or

employment violated” the defendant’s due process rights to be “without merit” in a sex

trafficking and forced labor case), aff’d, 628 F.3d 36, 45 n.12 (2d Cir. 2010). If the Government

provides a reason to “limit disclosure of identifying information in open court,” the defendant

must “demonstrate a ‘particularized need’ for disclosure . . . which the court weighs against the

risks to the witness.” Id. (citing Marti, 421 F.2d at 1266; United States v. Bennett, 409 F.2d 888,

901 (2d Cir. 1969)); see United States v. Urena, 8 F. Supp. 3d 568, 572-73 (S.D.N.Y. 2014)

(permitting an undercover law enforcement officer to testify under a pseudonym, after balancing

the relevant interests); cf. United States v. Cavallaro, 553 F.2d 300, 304 (2d Cir. 1977)

(“[W]here the government voices a legitimate concern for a witness’ safety, the trial court must

balance the potential danger to the witness against the need of the defense for the information.”).




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       “[T]here is no absolute right of an accused to have a jury hear a witness’s true name and

address.” Clark v. Ricketts, 958 F.2d 851, 855 (9th Cir. 1991). Strong public interests support

limiting public disclosure of victim identities and other sensitive information.        The Crime

Victims’ Rights Act, 18 U.S.C. § 3771, requires district courts to implement procedures to

ensure that crime victims are accorded, among other rights, “[t]he right to be reasonably

protected from the accused,” and “[t]he right to be treated with fairness and with respect for the

victim’s dignity and privacy.” Id. §§ (a)(1), (a)(8). Moreover, the public “has a strong interest in

protecting the identities of sexual assault victims so that other victims will not be deterred from

reporting such crimes.” Doe on behalf of Doe No. 1 v. Nygard, No. 20 Civ. 6501 (ER), 2020 WL

4890427, at *3 (S.D.N.Y. Aug. 20, 2020) (quoting Doe No. 2 v. Kolko, 242 F.R.D. 193, 195

(E.D.N.Y. 2006)).

       These interests are particularly salient in sex abuse cases. Victims in such cases often

testify or are referred to only using pseudonyms or without using their last names. See Aug. 3,

2021 Tr. at 53:13-55:2, United States v. Kelly, No. 19 Cr. 286 (E.D.N.Y.); Oct. 17, 2019 Tr. at

32:1-36:6, United States v. Dupigny, No. 18 Cr. 528 (JMF) (S.D.N.Y.) Dkt. No. 198 (permitting

use of real first names and fake last names); Order at 10-11, United States v. Kidd, No. 18 Cr.

872 (VM) (S.D.N.Y. July 1, 2019), Dkt. No. 60 (“The Court is persuaded that, to protect the

minor victims, they should be permitted to testify under pseudonyms and that such anonymous

testimony does not violate Kidd’s Sixth Amendment rights.”); May 8, 2019 Tr. at 6:20-21,

United States v. Benjamin, No. 18 Cr. 874 (JSR) (S.D.N.Y.), Dkt. No. 53; Order at 29-35, United

States v. Raniere, No. 18 Cr. 204 (NGG) (E.D.N.Y. May 6, 2019), Dkt. No. 622; United States v.


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Zhong, No. 16 Cr. 614 (DLI), 2018 WL 6173430, at *2 (E.D.N.Y. Nov. 26, 2018) (granting

government’s motion to have victim witnesses testify using pseudonyms); Order at 2-3, United

States v. Martinez, No. 17 Cr. 281 (ERK) (E.D.N.Y. Dec. 18, 2017), Dkt. No. 34 (“Jane Doe will

be permitted to testify as ‘Jane Doe’ at trial, and will not be required to disclose her address,

names of family members or exact place of employment (if any).”); Apr. 5, 2016 Tr. at 6-10,

United States v. Quraishi, No. 15 Cr. 598 (CBA) (E.D.N.Y.), Dkt. No. 46 (permitting a witness

to testify using only her first name); United States v. Corley, No. 13 Cr. 48 (AJN), 2016 WL

9022508, at *3-4 (S.D.N.Y. Jan. 15, 2016) (noting that “Judge Patterson . . . permitted the minor

victims to testify under a pseudonym at trial” and denying the pro se defendant’s request for the

surnames of the minor victims for his appeal); United States v. Graham, No. 14 Cr. 500 (ER),

2015 WL 6161292, at *10 (S.D.N.Y. Oct. 20, 2015) (permitting victims to testify using their first

names only); Order at 2, United States v. Rivera, No. 09 Cr. 619 (JMA) (E.D.N.Y. Apr. 26,

2011), Dkt. No. 231; United States v. Paris, No. 06 Cr. 64 (CFD), 2007 WL 1484974, at *2 (D.

Conn. May 18, 2007). Because of the explicit nature of the offense conduct, which may require

victims to testify about “degrading and humiliating treatment,” revealing victim identities

“would likely cause . . . anxiety and risk social stigma,” and “could chill the willingness of other

alleged victims of sex crimes to come forward.” Order at 2, Martinez, No. 17 Cr. 281 (ERK)

(E.D.N.Y. Dec. 18, 2017), Dkt. No. 34. Additionally, victims in sex abuse cases suffer from

“likely adverse personal, professional and psychological consequences of publicly linking their

identities to their past” conduct. Paris, 2007 WL 1484974, at *2. “In light of the explicit nature

of the conduct” that is the subject of the case, victims have “legitimate” fears “of harassment by


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the media” and “loss of employment potentially resulting from trial publicity.” Marcus, 2007

WL 330388, at *1. These interests significantly outweigh any defense interest, especially where

the defense knows the true identities of victims and is able to mount their defense. See id.; Order

at 2-3, Martinez, No. 17 Cr. 281 (ERK) (E.D.N.Y. Dec. 18, 2017), Dkt. No. 34. 2

       Indeed, in two recent highly publicized cases in the Eastern District of New York, the

district court judges permitted victims to testify using pseudonyms or using only their first

names. In United States v. Raniere, No. 18 Cr. 204 (E.D.N.Y.), the Government moved to allow

testifying victims to testify “under a nickname, first name, or pseudonym only, and to not be

required to disclose uniquely identifying information,” such as “addresses, names of family

members, or exact places of education or employment.” Order at 29, 32, Raniere, No. 18 Cr.

204 (E.D.N.Y. May 6, 2019), Dkt. No. 622. The Court granted the motion, explaining that

“requiring victims of sex trafficking . . . and other crimes to provide their names in public could

chill their willingness to testify,” and “would only cause further embarrassment and humiliation,

given the inflammatory nature of the conduct alleged.” Id. at 32, 35 (citations and internal

quotation marks omitted). It also may “cause other victims to fear seeking help from law

enforcement as that could subject them to further harassment and embarrassment.” Id. (citation

and internal quotation marks omitted). Although the defendant claimed that several victims’



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  Sex abuse cases are not unique. In other contexts, courts have permitted the Government to
call witnesses using pseudonyms or using their first names only, notwithstanding a defendant’s
Sixth Amendment rights. See, e.g., United States v. Schulte, 436 F. Supp. 3d 698, 706 (S.D.N.Y.
2020) (permitting use of pseudonyms in national security case); United States v. Hernandez, 12
Cr. 809 (PKC), 2013 WL 3936185, at *3 (S.D.N.Y. July 29, 2013) (permitting use of pseudonym
for undercover agent in narcotics case).
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names were already public and that some victims had come forward by choice, Judge Garaufis

found those facts “irrelevant”: “just because some victims’ names are publicly available does not

mean that the details of their experiences are already available,” and “the choice of a victim to

publicly discuss a crime is not analogous to being put on the stand about it, as, in court, the

victim will not be able to choose how and to what level of detail she discusses the crime.” Id. at

34 n.17.

       Judge Donnelly reached a similar result in United States v. Robert Kelly, 19 Cr. 286

(AMD). In that case, the Government also moved in limine to permit certain victims to testify

using pseudonyms or their first names and prevent public disclosure of their addresses, names of

family members, or exact places of employment. Mot. at 1, Kelly, No. 19 Cr. 286 (E.D.N.Y.

July 10, 2021), Dkt. No. 121. As the Government explained, the victims were “expected to

testify in explicit detail and/or be the subject of highly sensitive and personal testimony

concerning their . . . illegal sexual abuse by the defendant, some of which occurred while most of

the Victim-Witnesses were under the age of 18.” Id. at 9-10. The Government also explained

that two of the victims had “not spoken publicly about their experiences,” and while a third had

done so, “her anticipated testimony at trial will be more fulsome than her prior public disclosures

and will include sensitive information that has not been previously publicly revealed.” Id. at 11.

The Court granted the motion. Aug. 3, 2021 Tr. at 53:13-55:2, Kelly, No. 19 Cr. 286 (E.D.N.Y.).




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   B. Discussion

       The victims are expected to testify in explicit detail and/or be the subject of highly

sensitive and personal testimony concerning sexual abuse, most of which occurred while they

were under the age of 18. The limited protections requested by the Government are reasonable,

necessary, and narrowly tailored to protect the victims’ well-being, prevent undue

embarrassment and other adverse consequences, including loss of employment, and prevent the

victims from being harassed by the press and others.

       Specifically, the Government requests that Minor Victim-1 and Minor Victim-3—

                                        —be permitted to testify under a pseudonym.




       Additionally,




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       The Government also requests that two witnesses (“Witness-1” and “Witness-2”), who

the Government expects will testify at trial about Minor Victim-1, be permitted to testify under

pseudonyms.    This request is a corollary of the protection requested for Minor Victim-1:

Witness-1 is



Witness-2 is




       The Government requests that Minor Victim-4 be permitted to testify using her first name

only, and that two witnesses (“Witness-3” and “Witness-4”), who the Government anticipates

will testify about Minor Victim-4, also be permitted to testify using their first names. Further,

the Government requests that Minor Victim-6, who will not testify at trial, be referred to in open

court by her first name only.



                                                                                           .

       Finally, the Government asks that the Court: (1) limit references at trial for the above

Minor Victims and witnesses to the manner described above, including in jury addresses and


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examination of other witnesses; (2) preclude the defense from eliciting personal identifying

information for the Minor Victims, Witness-1, Witness-2, Witness-3, or Witness-4, including

their addresses or the details of their current employment; and (3) seal exhibits containing the

names of Minor Victim-1, Minor Victim-3, and Witness-1, or the last names of Minor Victim-4

and Minor Victim-6.

        To be clear, the Government’s request is that those names not be stated in open court or

read into the record.     The defendant already knows the true names of these victims and

witnesses. And the Government expects the jury to learn the true names of the relevant minor

victims and witnesses at trial. The Government intends to offer documentary evidence that

would corroborate the testimony of the Minor Victims and which contains the names of certain

of the Minor Victims. While those names may remain hidden from the public, they will be

revealed to the jury. 3

        Since the defendant’s arrest, this case has garnered significant media attention, and the

Government expects that members of the media will attend and report on the trial. Under these

circumstances, it is highly likely that, if stated publicly in open court, the names of the Minor

Victims will be widely publicized.



        That publicity imposes real costs on the Minor Victims and the public. First, publicizing

the names of the Minor Victims will cause them significant embarrassment, anxiety, and social


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  This can be accomplished simply. For instance, the jury can learn Minor Victim-1’s name by
displaying a document containing Minor Victim-1’s name for the witness and the jury—but not
the public—and asking Minor Victim-1 whether the name on the document is her name.
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stigma. These details are “inflammatory” in light of the “nature of the conduct alleged.” Order

at 32, United States v. Raniere (May 6, 2019), Dkt. No. 622. Minor Victims-1 through -4 are

expected to testify in explicit detail and/or be the subject of highly sensitive and personal

testimony concerning illegal sexual abuse by the defendant and Epstein, much of which occurred

while they were under the age of 18. While Minor Victim-5 and Minor Victim-6 will not testify,

similar details are expected to be elicited as to them. These details will likely appear in the news

and on the internet, but the Court can ensure that they will not be publicized side-by-side with

the victim’s true name. See Order at 2-3, Martinez, No. 17 Cr. 281 (ERK) (E.D.N.Y. Dec. 18,

2017), Dkt. No. 34 (“This case has already received significant national and local press coverage.

Revealing Jane Doe’s identity would likely cause her anxiety and risk social stigma.”).

       Second, the publicity increases the personal and professional consequences to the Minor

Victims for testifying. One Minor Victim has expressed substantial concern to the Government

about the risks that her association with this case will pose to future employment. Making that

association widely public—for that victim and others—requires the Minor Victims to be

associated with the graphic details of their experiences, not just in the general public

consciousness, but with their friends, families, colleagues, and prospective employers.

       Third, the publicity increases the risk that the Minor Victims will be harassed by the press

and public. In light of the significant media attention this case has generated, it is likely that the

Minor Victims will be approached and harassed by members of the press and the public after




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their testimony. Publicizing their names will subject them to unwanted attention at the time they

are testifying in a criminal sex abuse trial. 4

        Taken together, requiring the Minor Victims to testify under their true and full names

imposes serious costs on them.          It is inconsistent with the Crime Victims’ Rights Act’s

exhortation that victims are to be treated with respect for their “dignity and privacy.” 18 U.S.C.

§ 3771(a)(8). And requiring victims of sex crimes to provide their names in public could chill

their willingness to testify, for fear of having their personal histories publicized as they rebuild

their lives. See Order at 2, Martinez, No. 17 Cr. 281 (ERK) (E.D.N.Y. Dec. 18, 2017), Dkt. No.

34. It could also cause other victims—including minors—to avoid seeking help from law

enforcement because of fear that coming forward could subject them to further harassment and

embarrassment. Cf. Fed. R. Evid. 412 Advisory Committee Note (explaining that, by protecting

the victim “against the invasion of privacy, potential embarrassment and sexual stereotyping that

is associated with public disclosure of intimate sexual details,” the rule “encourages victims of

sexual misconduct to . . . participate in legal proceedings against alleged offenders”).




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  The Government would consent to an appropriate jury instruction explaining that the reason for
the precautions is “regard for the witnesses’ and non-witness victims’ privacy,” and that no
inference should be drawn against the defendant because of those precautions. Order at 33-34,
United States v. Raniere (E.D.N.Y. May 6, 2019), Dkt. No. 622 (“[T]he court is confident that
any prejudice can be cured with a jury instruction explaining that the reason for the anonymity is
regard for the witnesses’ and non-witness victims’ privacy.”); Apr. 5, 2016 Tr. at 9-10, United
States v. Quraishi (E.D.N.Y. Apr. 5, 2016), Dkt. No. 46. As the district court in the Raniere case
explained, “[g]iven the potentially embarrassing nature of the allegations, and the media
attention thus far, such an explanation will certainly seem plausible to the jury.” Order at 34,
United States v. Raniere (E.D.N.Y. May 6, 2019), Dkt. No. 622 (footnote omitted).
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disclosure of such information will identify the Minor Victims with particularity, and thus

subject them to harassment, retaliation, and embarrassment, or additional consequences. 7

       The sealing of exhibits containing the names of Minor Victim-1, Minor Victim-3, and

Witness-1, or the last names of Minor Victim-4 and Minor Victim-6, is also appropriate.

Although “the public has an ‘especially strong’ right of access to evidence introduced in trials,”

United States v. Amodeo, 71 F.3d 1044, 1049 (2d Cir. 1995), it “is not absolute,” Nixon v.

Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978); see also United States v. Graham, 257 F.3d

143, 149 (2d Cir. 2001). For example, “subject matter [that] is traditionally considered private

rather than public” will weigh “heavily against access.” Amodeo, 71 F.3d at 1050. This includes

certain “financial records . . . , family affairs, illnesses, embarrassing conduct with no public

ramifications, and similar matters . . . .” Id. at 1051. “[T]he ‘venerable’ privacy-interest

exception to the presumption of access exists to avert ‘cater[ing] ‘to a morbid craving for that

which is sensational and impure.’” United States v. Cohen, 366 F. Supp. 3d 612, 626-627

(S.D.N.Y. 2019) (quoting Amodeo, 71 F.3d at 1051). The Government’s sealing request is

narrowly tailored to prevent public disclosure only of those exhibits which would identify by

name the Minor Victims testifying in this case. Any other result would defeat the purpose of

permitting the Minor Victims to testify using pseudonyms or their first names, incurring all the

harms described above. See Paris, 2007 WL 1484974, at *2 (concluding that the interest in



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  For the same reasons, any courtroom sketch artists should be precluded from drawing the faces
of victims. See May 6, 2019 Text Order, Raniere, 18 Cr. 204 (NGG) (E.D.N.Y.) (“Sketch artists
. . . may not draw exact likenesses of jurors or witnesses other than co-defendants should they
testify . . . .”).
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protecting victim identities outweighs the public interest in access to information because “the

public and press will be able to hear the Jane Does’ and Minors’ testimony in full”).

   II.      The Minor Victims’ Prior Consistent Statements Are Admissible for Their
            Truth If the Defense Challenges Their Credibility

         If the defendant claims that the Minor Victims’ testimony has been recently fabricated or

that the Minor Victims have motives to lie, or if the defense otherwise attacks the credibility of

the Minor Victims on another ground, the Government will seek to introduce the Minor Victims’

prior consistent statements to witnesses about their experiences with the defendant and Epstein.

   A. Applicable Law

         Under Rule 801(d)(1)(B) of the Federal Rules of Evidence, a prior statement is not

hearsay if the declarant testifies and is subject to cross examination about the statement, the

statement is consistent with the declarant’s testimony, and the statement is offered either “(i) to

rebut an express or implied charge that the declarant recently fabricated it or acted from a recent

improper influence or motive in so testifying; or (ii) to rehabilitate the declarant’s credibility as a

witness when attacked on another ground.” Notably, “the prior consistent statement need not be

proffered through the testimony of the declarant but may be proffered through any witness who

has firsthand knowledge of the statement.” United States v. Caracappa, 614 F.3d 30, 39 (2d Cir.

2010) (affirming admission of prior consistent statements to rebut defense insinuation that

witness had testified from improper motive).

         Prior to 2014, a witness’s prior consistent statement was only permitted to rebut a charge

of recent fabrication that postdated the prior consistent statement. See Tome v. United States,

513 U.S. 150, 156 (1995). Many courts, however, including the Second Circuit, had developed

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rules allowing admission of prior consistent statements outside of the context of Rule

801(d)(1)(B) in order to rehabilitate a witness after certain attacks on credibility. See, e.g.,

United States v. Pierre, 781 F.2d 329, 333 (2d Cir. 1986). In 2014, the Rule 801 was amended to

allow prior consistent statements that were “otherwise admissible for rehabilitation” to come in

“substantively as well.” Fed R. Evid. 801 (Advisory Committee’s Note to 2014 Amendment)

(“The intent of the amendment is to extend substantive effect to consistent statements that rebut

other attacks on a witness—such as the charges of inconsistency or faulty memory.”).

       Thus, as amended in 2014, Rule 801(d)(1)(B)(ii) “expands the purposes for which prior

consistent statements may be offered.” United States v. Purcell, 967 F.3d 159, 196 (2d Cir.

2020). The Second Circuit has relied on subsection (ii) of the amended Rule 801(d)(1)(B) in

finding that the district court did not abuse its discretion in admitting prior consistent statements

that were introduced to rebut “defendants’ attacks on [the declarant’s] credibility and memory,”

notwithstanding that the defendants’ “challenges to [the declarant’s] memory were brief and

were not their main challenges.” United States v. Flores, 945 F.3d 687, 705-06 (2d Cir. 2019)

(quoting Fed. R. Evid. 801 Advisory Committee Note (2014) for the proposition that “[t]he

intent of the amendment [adding subpart (B)(ii)] is to extend substantive effect to consistent

statements that rebut other attacks on a witness—such as the charges of inconsistency or faulty

memory.” (emphases in Flores)); see also Purcell, 967 F.3d at 196-98 (affirming admission of

statements under Rule 801(d)(1)(B)(ii) where the declarant was accused of making inconsistent

statements and defense counsel never suggested “that the accuracy of [declarant’s] trial

testimony was marred by recent fabrication or a recently created improper motive or influence”).


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Similarly, the Sixth Circuit has found that a district court properly admitted evidence of prior

consistent statements that “rebutted [the d]efendant’s attack on [the declarant’s] purportedly

faulty memory.” United States v. Cox, 871 F.3d 479, 487 (6th Cir. 2017).

   B. Discussion

       The Government expects the Minor Victims to testify at trial about their experiences with

the defendant and Jeffrey Epstein, including the sexual abuse to which they were subjected, in

the 1990s and early 2000s.     To the extent the defendant challenges the credibility of the

testimony of the Minor Victims—whether in opening statements or on cross-examination—the

Government intends to call a number of witnesses to introduce certain of the Minor Victims’

prior consistent statements to witnesses about their experiences with the defendant and Epstein.

See, e.g., Flores, 945 F.3d at 705-06 (admitting prior consistent statement of witness after

defense’s opening statement called into question the witness’s credibility); United States v.

Burrell, 43 F. App’x 403, 406 (2d Cir. 2002) (allowing prior consistent statements of cooperating

witness because the defendant “argued in her opening statement that the cooperating witnesses

had a motive to lie”).

       Such testimony is admissible under both subparts (i) and (ii) of Rule 801(d)(1)(B). As to

subpart (i), if the defendant claims that a Minor Victim recently fabricated her testimony, the

admissibility of her prior consistent statements will depend in part on the alleged “recent

improper influence or motive in so testifying.” Because the Minor Victims’ prior consistent

statements to witnesses about their experiences with the defendant and Epstein were made well

over a decade ago, they are almost certain to qualify as having been made prior to any accusation

of motive to fabricate. They therefore tend to rebut any assertion that the victims or witnesses
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recently fabricated their allegations about the defendant. See Tome, 513 U.S. at 159, 167

(holding that the Rule “permits the introduction of a declarant’s consistent out-of-court

statements to rebut a charge of recent fabrication or improper influence or motive” where “those

statements were made before the charged recent fabrication or improper influence or motive”).

          And regardless of the timing of any alleged motive to lie, the Minor Victims’ prior

consistent statements will be admissible under subpart (ii), which was enacted “to extend

substantive effect to consistent statements that rebut other attacks on a witness.” 2014 Advisory

Committee Notes to Fed. R. Evid. 801 (emphasis added); see Flores, 945 F.3d at 705 (“As ‘not

hearsay,’ such statements are—subject to the usual prerequisites such as relevance—admissible

as proof of the substance of the statement.”). If the defense attacks the credibility of the Minor

Victims on another ground, such as inconsistency or faulty memory, the Government is entitled

to rehabilitate the Minor Victims through prior consistent statements made to other witnesses.

See, e.g., Purcell, 967 F.3d at 197; Flores, 945 F.3d at 705-06; Cox, 871 F.3d at 487.

   III.      The Court Should Preclude Evidence or Argument About Investigations of the
             Defendant

          In the 2000s, the Palm Beach Police Department conducted an investigation of Jeffrey

Epstein, which later became part of an FBI investigation (together, the “Florida Investigations”).

Those investigations culminated in a September 2007 non-prosecution agreement between

Epstein and the United States Attorney’s Office for the Southern District of Florida (“USAO-

SDFL”), which did not name the defendant as a co-conspirator, and pursuant to which Epstein

pleaded guilty to a Florida state offense. In or about November 2018, this Office opened its



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investigation into Epstein and his co-conspirators, leading to a 2019 indictment against Epstein

and a 2020 indictment against the defendant.

       The defense has indicated that it will seek to make the prior investigations and charging

decisions the subject of testimony at this trial. For example, the defense has notified the

Government that it seeks to call FBI case agents from these investigations to testify “concerning

the scope, timeline, and resolution of the investigation, as well as the various investigative steps

taken by the agents, including by not limited to testimony about numerous witness interviews

they conducted, physical evidence they reviewed, [and] documents they obtained by subpoena.”

(See Exhibit A). In their voir dire motion, the defense stated that they expect “Epstein’s arrests

and prior convictions for sexual misconduct, allegations of his sexual misconduct of minors over

the course of two decades, and his untimely death awaiting his federal trial will be front and

center” at this trial. (Mem. of Law, Dkt. No. 342 at 2).

       The Court should preclude any evidence and argument about (1) charging decisions in

criminal investigations of Epstein and his co-conspirators, and possible reasons for those

decisions, and (2) the investigative steps taken during the current and prior investigations,

including the length of those investigations. The Government’s charging decisions are squarely

within its discretion and not a probative topic on which the jury should speculate, and the

Government has no obligation to use any particular investigative technique. The Court should

not permit evidence on these subjects, which would create an irrelevant sideshow that would

significantly delay this trial and confuse the jury. Similarly, the Court should not permit the

defense to call FBI case agents in order to introduce evidence about those topics.


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    A. The Court Should Not Permit the Defense to Elicit Evidence About Charging
       Decisions or Possible Reasons for Them

        1. Applicable Law

        Federal Rule of Evidence 402 provides that “[i]rrelevant evidence is not admissible.”

Accordingly, any evidence that does not bear on the defendant’s guilt or innocence of the

charges in the indictment should be excluded as irrelevant. Rule 403 further states that the Court

may “exclude relevant evidence if its probative value is substantially outweighed by a danger of

one or more of the following: unfair prejudice, confusing the issues, misleading the jury, undue

delay, wasting time, or needlessly presenting cumulative evidence.” Accordingly, any evidence

that is likely to distract the jury from the issue of guilt or innocence should be excluded under

Rule 403. See, e.g., United States v. Rosado, 728 F.2d 89, 93 (2d Cir. 1984) (criticizing

admission of evidence about the propriety of a prosecution “for turning the trial away from a

determination of whether the elements of the offense charged had been proved beyond a

reasonable doubt into a wide-ranging inquiry into matters far beyond the scope of legitimate

issues in a criminal trial”).

        Evidence about charging decisions made by law enforcement officials is rarely

admissible because such evidence typically consists of hearsay, is not relevant, and is likely to

confuse and mislead the jury. As such, courts in this Circuit have repeatedly precluded evidence

of charging decisions for one or more of these reasons. See, e.g., United States v. Borrero, No.

13 Cr. 58 (KBF), 2013 WL 6020773, at *2 (S.D.N.Y. Nov. 1, 2013) (precluding cross

examination regarding a government charging decision in part because “the limited amount of

probative value that the . . . charging decisions add is substantially outweighed by the risk of

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undue confusion and an unnecessary sideshow . . .”); United States v. Boyle, No. 08 Cr. 523

(CM), 2009 WL 5178525, at *3 (S.D.N.Y. Dec. 23, 2009) (explaining that the defendant “may

offer evidence that Powell killed Hydell. He may not, however, offer evidence concerning that

Powell was arrested and prosecuted for the murder.”); United States v. Rodriguez, 582 F. Supp.

2d 486, 487 (S.D.N.Y. 2008) (to avoid confusing jurors, defendants precluded from introducing

evidence about dismissals of prior charges against them in trial for the same conduct four years

later); United States v. Hill, No. 12 Cr. 214 (KAM), 2014 WL 198813, at *1-2 (E.D.N.Y. Jan.

14, 2014) (precluding evidence or cross examination of a detective regarding the Kings County

District Attorney’s Office decision to question but not charge the defendant for a murder that

occurred in 1997 but was only indicted fifteen years later because such testimony is hearsay,

irrelevant, and confusing); United States v. Watts, 934 F. Supp. 2d 451, 484-486 (E.D.N.Y.

2013) (precluding the defendant from eliciting basis of decision not to charge a possible co-

conspirator); United States v. Carneglia, No. 08 Cr. 76 (JBW), 2009 WL 185725, at *1

(E.D.N.Y. Jan. 27, 2009) (“‘[T]he government’s charging decisions are not proper subjects for

cross-examination and argument.’ Evidence related to the government’s charging decisions may

be excluded at trial based on lack of relevance.” (quoting United States v. Re, 401 F.3d 828, 832

(7th Cir. 2005))). 8




8
 Although there is no per se bar to admission of charging decisions, the Second Circuit has
permitted such evidence under narrow circumstances not present here, as discussed in greater
detail below. See infra pp. 25-26 (discussing United States v. White, 692 F.3d 235, 246 (2d Cir.
2012)).
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       2. Discussion

       The defense should be precluded from offering evidence or making arguments about (1)

the fact that the USAO-SDFL entered into a non-prosecution agreement with Epstein in 2008; or

(2) the fact that the USAO-SDNY first indicted Epstein alone in 2019 before it indicted the

defendant. Such evidence is irrelevant, would confuse and mislead the jury, and calls for

hearsay.

       First, those facts are irrelevant. These charging decisions say nothing at all about guilt or

innocence and fail to make more or less probable any fact of consequence. Such decisions are

often made after consideration of multiple factors, including, for example, available prosecutorial

or investigative resources and a desire not to disrupt an ongoing investigation. Even if a decision

not to prosecute is based upon the prosecutor’s view of the available evidence, it is irrelevant

both because investigations routinely uncover additional evidence and because it is not the

prosecutor’s view of the evidence that matters, but rather that of the jury.

       Those points are particularly true here. It is entirely speculative to assume that the

USAO-SDFL did not charge the defendant in 2008—or immunize her by name in the non-

prosecution agreement—and that this Office did not charge her in 2019 solely because it lacked

the evidence to do so and that such evidence could not have been developed had the investigation

focused its resources on the defendant. See Hill, 2014 WL 198813, at *2 (“Any connection

between purported concerns about [a witness’s] identification [of the defendant] and the decision

not to charge in 1997 would thus be based on speculation and conjecture by government

witnesses who did not decide whether to charge [the defendant] in 1997.” (emphasis in

original)). And because signification portions of the Government’s evidence were developed
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after 2019, including testimony from two of the Minor Victims, any connection between the

evidentiary background of the USAO-SDFL’s charging decisions or this Office’s 2019

indictment of Epstein and the defendant’s guilt or innocence is attenuated.

       It is not the Government’s view of the evidence at any one time that matters—it is the

view of the jury considering the evidence before it, and past charging decisions have no bearing

on that evidence. See, e.g., United States v. Stewart, No. 03 Cr. 717 (MGC), 2004 WL 113506,

at *1 (S.D.N.Y. Jan. 26, 2004) (“Defendants may not invite the jury to speculate as to why [a

particular] charge was not included in the indictment.”), aff’d and remanded, 433 F.3d 273 (2d

Cir. 2006). At trial, the questions for the jury will be whether, based on the evidence presented,

the defendant participated in the charged Mann Act and sex trafficking offenses. Nothing about

the decisions of the USAO-SDFL and this Office has any bearing on the defendant’s guilt or

innocence.

       The Second Circuit’s decision in United States v. White, 692 F.3d 235 (2d Cir. 2012),

only underscores this point. In that case, the appellant challenged his conviction for being a

felon in possession of a firearm. Id. at 238. “The only significant issue at trial was whether

White possessed a firearm, and, more specifically, whether the jury would believe the officers’

claim that one was recovered from his front pocket.” Id. at 247. White was traveling in a

vehicle with four other people on the day of his arrest, and “[t]he defense’s strategy was to seek

to demonstrate that the [firearm in question] was found in the vehicle and not on White’s

person.” Id. at 238. All five individuals were arrested and charged that day in state court with

possession of the firearm at issue. See id. at 239. Under New York law, a firearm found in an


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automobile is deemed to be the possession of all passengers in the automobile unless the firearm

is found on the person of a particular passenger. See id. at 245, 247 (citing N.Y. Penal Law

§ 265.15(3)). The district attorney dropped the charges against the defendant and three other

individuals, leaving only one of the individuals facing state charges for other firearms. See id. at

245.

       White therefore sought to admit the initial charging decisions at his federal trial, arguing

that “if the gun had actually been recovered from his person, none of the other individuals would

have been charged with possession of that particular gun.” Id. at 245. The district court rejected

that argument, and the Second Circuit reversed, explaining that the “decision to charge all

passengers traveling in the vehicle with possession . . . supports White’s theory that none of the

firearms was found on his person and discredits the officers’ testimony to the contrary.” Id. at

247.

       This case thus contrasts quite sharply with White. In White, the state’s earlier charging

decision directly contradicted a consequential fact in the case—whether the defendant was in

actual possession of the gun. It was therefore highly relevant as evidence used to undermine the

credibility of the officers testifying to the defendant’s possession.         Here, however, the

Government’s past charging decisions are entirely irrelevant to any factual issue in the case or

the credibility of any witness. See Watts, 934 F. Supp. 2d at 485 (distinguishing White in a

conspiracy case because “a conspiracy necessarily involves agreement amongst more than one

actor to engage in criminal conduct for which all members of the conspiracy may be found

equally culpable”).


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       Second, even if the decision of whether to charge the defendant in 2008 or 2019 had

some minimal relevance, it would be substantially outweighed by the dangers of confusing the

issues and misleading the jury. As courts in this Circuit have routinely held, introduction of

irrelevant decisions of whom and when to charge presents a substantial risk of confusing and

misleading the jury because a prosecutorial charging decision would tend to misdirect the jury’s

attention to a discretionary decision that is not connected to the ultimate quantum of evidence

that the Government adduces at trial. See, e.g., Borrero, 2013 WL 6020773, at *2 (holding that

“the limited amount of probative value that the . . . charging decisions add is substantially

outweighed by the risk of undue confusion and an unnecessary sideshow into [the]

circumstances”); Hill, 2014 WL 198813, at *2 (“[T]he reasons for the Kings County District

Attorney’s Office decision not to charge [the defendant] in 1997 are unknown and would cause

confusion of and speculation by the jury.”). That evidence invites the jury to abdicate its own

view of the fully developed evidentiary record in favor of speculation about charging decisions

by prosecutors at different times looking at different evidence and weighing different factors.

       Those risks are particularly acute here.      Any discussion of the Government’s prior

charging decisions would require extended trials within a trial concerning the bases for those

decisions. For instance, if the defense wishes to argue that the USAO-SDFL did not charge the

defendant in the Florida Investigations because those investigations did not generate inculpatory

evidence as to the defendant, it therefore puts at issue the non-prosecution agreement and the

circumstances of its creation. As the Court is aware, those circumstances were the subject of a

290 page report from the Department of Justice Office of Professional Responsibility. (See


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Dep’t of Justice, Office of Professional Responsibility Report, Dkt. No 293 Ex. A). Discussion

of those issues would be all the more confusing to the jury because it involves decisions of a

different prosecuting authority, because the USAO-SDFL resolved its investigation before

significant investigative steps were completed, and because the USAO-SDFL investigation did

nonetheless generate inculpatory material as to the defendant. To evaluate the evidence, jurors

would also need to understand the sequencing of the various investigations into Epstein and the

defendant, so they could understand which witnesses and evidence were available to which law

enforcement agencies and prosecutors at what times. The history of various investigations into

Epstein reaches back 20 years, and a review of that history would create an extensive sideshow.

Any marginal probative value of evidence of the Government’s charging decisions is

substantially outweighed by the extended digression and confusion that such evidence would

require.

       Third, eliciting information about past charging decisions would be hearsay. See White,

692 F.3d at 244-45 (declining to decide whether the evidence in that case was hearsay); id. at

253 (Jacobs, J., dissenting) (“[A]s the majority opinion observes, hearsay problems abound in

this case; yet, since neither party raised these issues on appeal, the Court has not decided whether

the charging documents . . . are admissible hearsay.”). Those charging decisions were made

internally by prosecutors at the USAO-SDFL or at this Office. No prosecutors from either office

are testifying at trial, and no witness testifying at this trial can explain the Government’s past

charging decisions. Any knowledge that an FBI agent has, or that a witness has, about the basis

for a prior charging decision is based on statements made by prosecutors, which are themselves


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hearsay. See id. at 246 (majority op.) (charging decisions proper subjects for cross-examination

only “if otherwise admissible”); Hill, 2014 WL 198813, at *1-2 (precluding cross examination of

agent regarding district attorney’s charging decision as inadmissible hearsay).

       The Government’s prior charging decisions and the bases for them are irrelevant,

hearsay, and disruptive to the trial. They should not be admitted.

   B. The Court Should Preclude Evidence or Argument About the Length of And
      Investigative Steps Taken During Current or Prior Investigations

       For similar reasons, the defense should be precluded from offering evidence or arguing to

the jury about the investigative steps taken during the Florida Investigations or this Office’s

investigation, including the duration of those investigations.

       1. Applicable Law

       It is settled law that the jury should “base its decision on the evidence or lack of evidence

that had been presented at trial.” United States v. Saldarriaga, 204 F.3d 50, 52 (2d Cir. 2000)

(per curiam). The Government’s “failure to utilize some particular technique or techniques does

not tend to show that a defendant is not guilty of the crime with which he has been charged.” Id.

at 53; see, e.g., United States v. Ngono, 801 F. App’x 19, 24 (2d Cir. 2020) (summary order)

(“We have held that a district court does not commit error in instructing the jury that the

Government has no legal obligation to use any particular investigative technique in preparing its

case.”). While a defendant “may comment on the failure of proof in the record, such as the

absence of forensic evidence in the form of voice, handwriting, or fingerprint analysis,” such

comment becomes improper when it encompasses the further argument that “the government had

failed to undertake to procure such evidence.” United States v. Londono, 175 F. App’x 370, 375

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(2d Cir. 2006) (summary order) (affirming a district court that sustained an objection during a

defense summation). Accordingly, issues like the “length of the investigation, the investigative

techniques used, and the fact that [the defendant] was not initially a target of the investigation are

all irrelevant.” United States v. Duncan, No. 18 Cr. 289 (SHS), 2019 WL 2210663, at *3

(S.D.N.Y. May 22, 2019); see United States v. Aleynikov, 785 F. Supp. 2d 46, 65 (S.D.N.Y.

2011) (“As a general matter, the quality and scope of the Government’s investigation are not

appropriate lines of examination . . . .”), rev’d on other grounds by 676 F. 3d 71 (2d Cir. 2012).

       2. Discussion

       It is not relevant or probative for the defense to elicit evidence or make argument about

investigative steps taken or untaken by the Government, either in this investigation or the Florida

Investigations, or about the length of those investigations.

       The issue before the jury is whether the admissible evidence before it demonstrates the

defendant’s guilt beyond a reasonable doubt. The particular investigative steps used (or not

used) by the Government, and the length of the investigation, are wholly irrelevant to question.

See Fed. R. Evid. 401. Rather, the jury’s decision should be fixed on “the evidence or lack of

evidence that had been presented at trial.” Saldarriaga, 204 F.3d at 52. The defendant should be

precluded from eliciting testimony about facts the jury cannot properly consider, and which do

not bear on the defendant’s guilt or innocence.

       Moreover, whatever marginal relevance a discussion of investigative steps or the length

of an investigation may have is outweighed by the risk of confusing the issues and misleading

the jury. See Fed. R. Evid. 403. It is routine practice in this District to give an instruction that

“the government is not on trial.” See, e.g., United States v. Knox, 687 F. App’x 51, 54-55 (2d
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Cir. 2017) (summary order) (instructing jury that the “government is not on trial” is

“appropriate” (internal quotation marks omitted)). Introducing evidence about investigative

decisions would only confuse the issues properly before the jury and suggest that jurors should

focus on the history of investigations into Epstein and his co-conspirators rather than the

evidence against the defendant.

       Judge Stein’s decision in United States v. Duncan, No. 18 Cr. 289 (SHS) (S.D.N.Y.), is

instructive. In that case, a defendant sought to call a case agent on three topics: (1) the length of

the FBI’s investigation, (2) the law enforcement techniques that were used and not used, and (3)

contacts and communications with that defendant prior to his arrest. Letter, id., Dkt. No. 130.

The Court explained that defense counsel “wanted to bring out that [the defendant] was not a

target of the investigation for a long period of time.” May 16, 2019 Tr. at 1168:12-23, id., Dkt.

No. 159. Citing Saldarriaga, the Court explained that the argument was “absolutely irrelevant,”

because “[w]hat matters is whether the government has proven its case against [the defendant]

here beyond a reasonable doubt.” Id. at 1168:12-25; see Duncan, 2019 WL 2210663, at *3

(“Evidence about the length of the investigation, the techniques used, and when Locust became a

target is therefore not admissible pursuant to Fed. R. Evid. 401.”).

       So too here. It is irrelevant what investigative steps were taken during the Florida

investigations or this investigation, and it is irrelevant how long those investigations lasted.

Testimony and argument on those points would not assist the jury in evaluating the defendant’s

guilt or innocence, but it would confuse the jury by directing them to focus on investigators’

conduct. Especially where the investigative context is complicated and a topic of public interest


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(see generally Dep’t of Justice, Office of Professional Responsibility Report, Dkt. No. 293 Ex. A

at v-vi), evidence or argument on that point can only distract the jury from its function.

       The defense is free to offer its own evidence about the victims and instances charged in

this case, and it is free to attempt to impeach the Government’s witnesses through legitimate

evidentiary means. But evidence about unrelated investigative steps and their outcomes would

only serve to extend the trial and distract the jury with irrelevant information. This Court should

preclude such evidence.

   C. The Defense Should Not Be Permitted to Call Case Agents Without First Proffering
      a Valid Basis for Their Testimony

       As explained above, the Court should preclude evidence or argument regarding either the

outcomes of the prior investigations, investigative steps taken during those investigations, the

length of those investigations, or the evidence developed during those investigations about

unrelated events. Nevertheless, it appears the defense intends to call one or more case agents in

order to elicit such improper testimony. The Court should preclude testimony from case agents

unless the defense identifies a proper basis for their testimony.

       The Government has received a request from the defense pursuant to United States ex.

rel. Touhy v. Regan, 340 U.S. 462 (1951) for the testimony of two FBI case agents from the

Florida Investigations and two FBI case agents for the investigation that led to charges in this

District against Epstein and the defendant. The notice is attached as Exhibit A. According to the

Touhy request, which must summarize the testimony sought, see 28 C.F.R. § 16.23(c), the

defendant seeks testimony “concerning the scope, timeline, and resolution of the investigation, as

well as the various investigative steps taken by the agents, including but not limited to testimony

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about numerous witness interviews they conducted, physical evidence they reviewed, documents

they obtained by subpoena,” and their activities before the grand jury. (Ex. A at 1-2).

          But as set forth above, testimony about the “resolution” of a prior investigation is

irrelevant hearsay that would only serve to confuse the jury. Evidence about the “scope,”

“timeline,” or “various investigative steps taken by the agents” is similarly irrelevant and

misleading. The case agents are not summary witnesses that the defense can use to place before

the jury sweeping conclusions about the Florida Investigations or this one. 9 The bases identified

for their testimony are improper, and the Court should preclude them unless the defense

identifies a specific, valid purpose for their testimony.

    IV.      The Court Should Preclude Evidence or Argument About the Government’s
             Alleged Motives for Prosecution

          As the Court is aware, the defendant has claimed that she is being prosecuted as a

scapegoat because Jeffrey Epstein is dead. (See, e.g., Mem. of Law, Dkt. No. 142, at 1 (“[T]he

government has sought to substitute our client for Jeffrey Epstein . . . .”)). That claim is as false

as it is offensive. But in any event, the Government’s motives for prosecution are irrelevant to

the question of the defendant’s factual guilt that will be before the jury at trial, and any probative



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  Furthermore, the proffered bases for the case agents’ testimony will likely run afoul of
numerous evidentiary rules. The Government’s case agents cannot testify to the substance of
“numerous witness interviews they conducted” with uncalled witnesses, which is hearsay. The
agents’ prior testimony before the grand jury is admissible only under the limited principles that
govern prior consistent or inconsistent statements. And there is significant risk that case agent
testimony will introduce additional evidentiary issues. For instance, questioning the case agents
about information their investigations generated about the defendant would likely yield hearsay
responses and would open the door to agents offering other information that is inculpatory to the
defendant and that the Government would not otherwise offer at trial.
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value of such evidence is substantially outweighed by the unfair prejudice to the Government

and risk of distracting the jury or encouraging jury nullification. See Fed. R. Evid. 401, 403.

The Court should therefore preclude evidence or argument regarding the Government’s supposed

motives for prosecution, including evidence of Jeffrey Epstein’s 2019 death and the timing of

charges against the defendant.

       The Second Circuit has explained that claims of purported government misconduct must

be “directed to the court rather than jury.” United States v. Regan, 103 F.3d 1072, 1082 (2d Cir.

1997). Allegations concerning the government’s conduct are “ultimately separate from the issue

of [a defendant’s] factual guilt” and concern an alleged “defect in the institution of the

prosecution.” Id. (internal quotation marks omitted). Accordingly, district courts routinely and

correctly preclude defendants from raising these arguments at trial. See id. (“[W]e agree with the

district court’s decision to resolve for itself whether the government’s conduct was lawful and to

prevent Regan from presenting evidence on that subject.”); United States v. Stewart, No. 03 Cr.

717 (MGC), 2004 WL 113506, at *1 (S.D.N.Y. Jan. 26, 2004) (granting motion to preclude the

defendant from “presenting arguments or evidence that would invite the jury to question the

Government’s motives in investigating and indicting” the defendant), aff’d and remanded, 433

F.3d 273 (2d Cir. 2006).

       This extends to claims challenging the motives of a prosecution. In general, “the decision

as to whether to prosecute generally rests within the broad discretion of the prosecutor, and a

prosecutor’s pretrial charging decision is presumed legitimate.” United States v. Sanders, 211

F.3d 711, 716 (2d Cir. 2000) (citations and internal quotation marks omitted); see United States


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v. Armstrong, 517 U.S. 456, 463 (1996) (“[S]o long as the prosecutor has probable cause to

believe that the accused committed an offense defined by statute, the decision whether or not to

prosecute . . . generally rests entirely in [the prosecutor’s] discretion.” (internal quotation marks

omitted)). Defendants are permitted to challenge the motives for a prosecution by seeking

dismissal of an indictment due to vindictive or selective prosecution. See, e.g., United States v.

Avenatti, 433 F. Supp. 3d 552, 558, 562-64, 576 (S.D.N.Y. Jan. 15, 2020) (denying vindictive

and selective prosecution claims). Such challenges, however, are issues “for the court rather

than for the jury.” United States v. Farhane, 634 F.3d 127, 167 (2d Cir. 2011) (quoting Regan,

103 F.3d at 1082); see Fed. R. Crim. P. 12(b)(3)(A)(iv) (listing, among pretrial motions, “a

defect in instituting the prosecution, including . . . selective or vindictive prosecution”).

Accordingly, courts have sustained objections or precluded defendants from arguing to the jury

about the Government’s motives. See Farhane, 634 F.3d. at 166-67 (affirming a sustained

objection to a defense closing argument that “the government had targeted him for prosecution

based on his religion”); United States v. Duncan, No. 18 Cr. 289 (SHS), 2019 WL 2210663, at

*3 (S.D.N.Y. May 22, 2019) (“[T]o the extent Locust seeks to highlight the fact that he was not a

target of the investigation to suggest that the government’s true targets were the doctors and

lawyers allegedly involved in the conspiracy and to draw attention to their absence from this

case, the Court has already ruled that such argument is improper.”).

       The defense is free to argue that the defendant is not guilty. However, offering evidence

or argument to claim the Government is prosecuting the defendant because Epstein is dead, as a

scapegoat for Epstein, or for any other improper motive, is impermissible—and untrue. The


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reasons for the prosecution have no bearing whatsoever on the jury’s proper function. If the

facts gave rise to a viable claim of improper motive, the proper course would have been to file a

motion to dismiss the Indictment on those grounds. But the defendant did not do so, and she

may not now pursue that theory before the jury.

         Evidence or argument about Epstein’s death while awaiting prosecution is also irrelevant

and substantially more prejudicial than probative. See Fed. R. Evid. 403. The fact that Epstein

died while awaiting prosecution more than fifteen years after the charged conduct is entirely

irrelevant to the defendant’s guilt or innocence. Introducing that evidence to the jury and

arguing that it somehow relates to the Government’s case would only confuse the jury about

their task and unfairly prejudice the Government should the defense then imply or argue that it

relates to the Government’s motives for prosecution.

    V.        The Court Should Preclude Challenges to the Credibility of Individuals Who
              Are Not Witnesses at This Trial

         At trial, the Government expects that witnesses will testify about individuals who are not

witnesses at trial, and whose out-of-court statements will not be offered for their truth. For

example, witnesses will testify about Minor Victim-5 and Minor Victim-6, who will not be

witnesses at trial. The Court should preclude the defense from attempting to impeach the

credibility of individuals who will not be witnesses at trial, and whose credibility is therefore

irrelevant.

         An “essential safeguard” of a fair trial is the “right to place the witness in his proper

setting and put the weight of his testimony and his credibility to a test.” United States v. Harvey,

547 F.2d 720, 723 (2d Cir. 1976) (citation and internal quotation marks omitted). Accordingly,

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the Federal Rules of Evidence contain extensive provisions governing the impeachment of

witnesses. Fed. R. Evid. 607-13. Rule 806 also authorizes attacks on the credibility of hearsay

declarants, agents, and co-conspirators when those individual’s statements have been admitted

into evidence. Fed. R. Evid. 806. This rule “effectively treats the hearsay declarant as a witness

for impeachment and rehabilitation purposes.” 2 McCormick on Evid. § 324.2 (8th ed.).

       For individuals who are not witnesses and not hearsay declarants, however, none of those

rules apply. Instead, those non-witnesses’ “credibility is irrelevant.” United States v. McGowan,

58 F.3d 8, 15-16 (2d Cir. 1995). The Second Circuit has therefore “clearly established . . . the

principle that a statement not offered to prove the truth of the matter asserted may not be

impeached under Rule 806.” United States v. Paulino, 445 F.3d 211, 217 (2d Cir. 2006); see

United States v. Dipietro, No. 02 Cr. 1237 (SWK), 2005 WL 1430483, at *1 (S.D.N.Y. June 17,

2005) (“It has long been the case in the Second Circuit that it is proper to preclude cross-

examination of an individual whose statements are not admitted for their truth.”). Even if the

individual is a “‘central figure’” in the case, “a district court need not allow impeachment” if the

individual’s “out-of-court statements were not admitted for their truth.” United States v. Regan,

103 F.3d 1072, 1083 (2d Cir. 1997) (quoting McGowan, 58 F.3d at 15-16); see United States v.

Perez, No. 05 Cr. 441 (PKL), 2005 WL 2709160, at *3 (S.D.N.Y. Oct. 20, 2005) (“Because the

informant’s statements are not hearsay, and because the government will not call the informant

as a witness at trial, it follows that defendant may not impeach the credibility of the informant.”).

       In this case, the Government is not planning to call Minor Victim-5 or Minor Victim-6.

To the extent other witnesses are expected to testify about the activities of Minor Victim-5 and


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Minor Victim-6, including statements made by them, that testimony will not include any

statements by Minor Victim-5 or Minor Victim-6 offered for the truth of the matter asserted or

under one of the other exceptions listed in Rule 806. See Fed. R. Evid. 806 (referencing Fed. R.

Evid. 801(d)(2)(C)-(E), which concern authorized speakers, agents or employees acting within

the scope of that relationship, and co-conspirator statements). That testimony instead is expected

to include discussion of acts by Minor Victim-5 and Minor Vicitm-6 and statements offered not

for the truth of the matter asserted, but for some other reason, such as the effect on the listener.

For instance, and as noted above, Minor Victim-4 is expected to testify that she was recruited by

Minor Victim-5. Those statements are not offered for their truth, but to explain Minor Victim-

4’s actions. Similarly, Minor Victim-4 is expected to testify that she personally observed the

sexual abuse of Minor Victim-5—observations that require no hearsay statements from Minor

Victim-5. Accordingly, since Minor Victim-5 and Minor Victim-6 are neither witnesses nor

hearsay declarants, their credibility is not at issue, and they should not be subject to

impeachment or attack on that basis. 10

     VI.      Evidence or Argument that Minor Victims Consented to Sexual Abuse is
              Inadmissible

           A defendant is entitled to present a defense only if it has a foundation in the evidence and

it does not fail as a matter of law. See, e.g., United States v. Miles, 748 F.3d 485, 489 (2d Cir.

2014) (per curiam) (“A federal court may preclude a defendant from presenting a defense when


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  This analysis is not unique to the Minor Victims. Attacks on the credibility of any individual
who is neither a witness nor a hearsay declarant, including victims’ counsel, is improper. (See,
e.g., Reply Mem. of Law, Dkt. No. 285 (arguing that the Government improperly colluded with
victim’s counsel)).
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the evidence in support of such a defense would be legally insufficient.” (citation and internal

quotation marks omitted)); United States v. Bakhtiari, 913 F.2d 1053, 1057 (2d Cir. 1990) (“This

procedure enabled [the Court], upon finding that the defense failed as a matter of law, to

preclude the evidence and thereby avoid unnecessary jury confusion.”). If there is a question of

whether a defense is sufficient as a matter of law, the Court may conduct a hearing. See

Bakhtiari, 913 F.2d at 1057. But if the Court finds a defense insufficient as a matter of law, the

Court is under no duty to allow the defendant to present the evidence, or advance the defense, to

the jury. See Miles, 748 F.3d at 489; United States v. Paul, 110 F.3d 869, 871 (2d Cir. 1997)

(citing United States v. Bailey, 444 U.S. 394, 416-17 (1980)).

       Consent is not a valid defense to any of the counts in the Indictment. It is not a valid

defense to sex trafficking of minors. See United States v. Corley, 679 F. App’x 1, 4 (2d Cir.

2017) (summary order) (“Further, the victims could not consent because they were minors.”);

United States v. Elbert, 561 F.3d 771, 777 (8th Cir. 2009) (“Because the victims were minors

and could not legally consent, the government did not need to prove the elements of fraud, force,

or coercion, which are required for adult victims.”); United States v. Kidd, 385 F. Supp. 3d 250,

253 (S.D.N.Y. 2019). It is not a defense to the Mann Act counts. See United State v. Holland,

381 F.3d 80, 84 (2d Cir. 2004) (explaining that 18 U.S.C. § 2423(a) “makes no distinction

between victims and coconspirators for purposes of imposing liability on the person who

transports another; the defendant need only have transported an ‘individual’ . . . to be guilty

under the Act.”); United States v. Williams, 529 F.3d 1, 6 (1st Cir. 2008) (“[C]onsent is not a

defense to a prosecution under section 2423(a).”); United States v. Jones, 808 F.2d 561, 565 (7th


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Cir. 1986) (“[C]onsent is a defense to kidnapping but not to a Mann Act charge . . . .”); United

States v. Rivera, No. 13 Cr. 149 (KAM), 2015 WL 1886967, at *7 n.4 (E.D.N.Y. Apr. 24, 2015)

(“[C]onsent is not a defense to the sex trafficking of minors . . . and is also not a defense to

violations of 18 U.S.C. § 2422.”); United States v. Griffith, No. 99 Cr. 786 (HB), 2000 WL

1253265, at *18 (S.D.N.Y. Sept. 5, 2000) (“The Mann Act (18 U.S.C. §§ 2241-3) has never,

since its inception, provided for a defense of consent.”); see also Gebardi v. United States, 287

U.S. 112, 119 (1932) (“For the statute is drawn to include cases in which the woman consents to

her own transportation.”). And it is not a defense to the New York offense which is the object of

the Mann Act counts. See N.Y. Penal Law § 130.05(3)(a) (“A person is deemed incapable of

consent when he or she is . . . less than seventeen years old . . . .”).

        The Indictment concerns only minor victims, and as a matter of law, such underage

victims could not consent to engage in sexual activity. Accordingly, evidence or arguments that

the victims consented to being trafficked, transported, enticed, or sexually exploited would not

give rise to a valid defense, and they should be precluded. See Elbert, 561 F.3d at 777-78

(affirming exclusion of evidence of a victim’s consent under Federal Rule of Evidence 412). In

the absence of a consent defense, evidence about the victims’ consent to sexual activity should

also be excluded as irrelevant. See Fed. R. Evid. 401. Such evidence is not probative or relevant

to any issue at the trial. It cannot support a defense, and it does not impeach the witnesses or

undermine their credibility.

        And in any event, argument and evidence about victims’ consent should be excluded

under Rule 403. Any marginal value of such evidence would serve primarily to cast aspersions


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on the victims for participating in the defendant’s crimes, embarrassing the victims and inviting

the jury to engage in stereotyping and nullification. These are precisely the forms of harm the

law elsewhere tries to mitigate. Cf. Fed. R. Evid. 412 & Advisory Committee Note (restricting

introduction of evidence of a victim’s other sexual behavior to encourage victims to come

forward and avoid “invasion of privacy, potential embossment and sexual stereotyping”); 18

U.S.C. § 3771(a)(8) (giving victims the right to be treated with “respect for the victim’s dignity

and privacy”). The probative value of such evidence is therefore significantly outweighed by the

danger of prejudice.

       The Court should permit evidence of a minor victim’s consent to engage in sexual

activity only if doing so would aid the jury to evaluate a legitimate defense theory, which the

defense has not yet proffered.

   VII.    Before Offering Evidence or Argument of the Defendant’s Failure to Commit
           Other Bad Acts, the Court Should Require the Defense to Proffer the Basis and
           Relevance of Such Evidence

       The defense has repeatedly suggested that any witness who did not observe the defendant

participating in criminal conduct is exculpatory evidence. Specific-act propensity evidence is no

more admissible to refute a criminal charge than it is to establish one. Accordingly, before the

Court permits the defense to offer evidence or make argument regarding other crimes that did not

involve the defendant, the Court should require the defense to proffer the basis and relevance of

that evidence.

       “No less than evidence of a defendant’s prior ‘bad acts’ used to show that he committed

the crime charged, . . . ‘good acts’ evidence is only relevant if we assume that a defendant acted

in conformity with those prior good acts—i.e., if we make the exact propensity inference Rule
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404(b)(1) is designed to prohibit.” United States v. Dawkins, 999 F.3d 767, 792 (2d Cir. 2021)

(upholding exclusion of “testimony regarding [defendant’s] relationships with coaches whom he

did not bribe”). Accordingly, “[a] defendant may not seek to establish his innocence . . . through

proof of the absence of criminal acts on specific occasions.” United States v. Scarpa, 913 F.2d

993, 1011 (2d Cir. 1990) (internal quotation marks omitted). “A single occurrence of lawful

conduct is ‘simply irrelevant’ to other occurrences of unlawful conduct.” United States v.

Chambers, 800 F. App’x 43, 46 (2d Cir. 2020) (citing United States v. Walker, 191 F.3d 326,

336 (2d Cir. 1999)); see United States v. Williams, 205 F.3d 23, 34 (2d Cir. 2000) (“We reject

Williams’s assertion that the evidence of innocent travel was necessary to rebut the

government’s allegation that Williams had been involved in other cocaine importations from

Jamaica.   Although the government did argue that Williams had been involved in other

importations, it did not allege that Williams had engaged in drug activity during these particular

trips.”); Boyce v. Weber, No. 19 Civ. 3825 (JMF), 2021 WL 2821154, at *8 (S.D.N.Y. July 7,

2021) (in a civil sex trafficking case, excluding evidence of witnesses who would testify that the

defendant did not abuse them, because “[i]t is well established that a defendant may not seek to

establish his innocence through proof of absence of criminal acts on specific occasions”

(alterations and internal quotation marks omitted)).

       The Government has produced to the defendant records of interviews of many victims

who were sexually abused by Epstein, some of whom did not have personal interactions or

dealings with the defendant, including during the time period of the charged conspiracy. The

defendant is not charged with committing crimes against these victims. In prior filings, the


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defendant has emphasized these witness statements, and claimed that they are exculpatory. (See,

e.g., Mem. of Law, Dkt. 138 at 7-11; Letter, Dkt. 64 at 1; Mot., Dkt. No. 346 at 2 n.1).

       As explained above, as a general matter, “evidence of good conduct that does not refute

evidence of the offense charged” is inadmissible. United States v. Rivera, No. 13 Cr. 149

(KAM), 2015 WL 1725991, at *2 (E.D.N.Y. Apr. 15, 2015). The Government will not contend

at trial that the defendant personally participated in the abuse of all of Epstein’s victims, and it is

not a defense to claim that the defendant is not guilty of crimes with which she is not charged.

This Court has already said as much. In the defendant’s pretrial motions, she alleged pre-

indictment delay on the grounds that the lead detective from the Palm Beach Police Department

investigating Epstein “revealed that not one of the alleged Epstein victims ever mentioned Ms.

Maxwell’s name and she was never considered a suspect.” (Mem. of Law, Dkt. 138 at 10-11).

The Court rejected this argument, explaining that the testimony the defendant suggested that the

detective might have offered “is propensity evidence that does nothing to establish her innocence

of the charged offenses.” (Opinion & Order, Dkt. 207 at 18); see United States v. Raniere, 384

F. Supp. 3d 282, 325 (E.D.N.Y. 2019) (rejecting a motion for discovery because “statements by

individuals who were not allegedly directed to have sex with [the defendant] or were not

threatened with the release of collateral in exchange for acts of care are not Brady material

because they have no bearing on whether the alleged victims were so directed or threatened”).

         Moreover, the Government notes that evidence of these encounters is only admissible

through the victims themselves. Any other method of eliciting that evidence, such as through




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testimony by a case agent, is inadmissible hearsay. While the defendant has no burden to put on

a defense case, she can only introduce this evidence by doing so.

       Accordingly, before the defendant—in opening or during trial—argues or offers evidence

about the defendant’s absence when Epstein abused victims who are not part of the

Government’s case-in-chief, the Court should require the defendant to explain the evidence she

plans to offer and why such evidence would be admissible.

   VIII. The Court Should Not Permit the Defendant to Introduce Her Own Prior
         Statements

       The Government has produced to the defendant many of her own statements, including

primarily (1) statements contained in emails or other communications, and (2) statements from

her own deposition. Some of the latter statements contain denials of portions of the offense

conduct, for which the defendant is separately charged with perjury. (See Indictment ¶¶ 28-31).

The Court should not permit the defense to introduce these statements.

       A defendant may not offer her own statement into evidence without subjecting herself to

cross-examination. “When the defendant seeks to introduce his own prior statement for the truth

of the matter asserted, it is hearsay, and it is not admissible.” United States v. Marin, 669 F.2d

73, 84 (2d Cir. 1982); see also, e.g., United States v. Rea, 958 F.2d 1206, 1225 (2d Cir. 1992)

(similar); United States v. Fernandez, 839 F.2d 639, 640 (9th Cir. 1987) (per curiam)

(“[D]efense counsel wished to place [the defendant’s] statement . . . before the jury without

subjecting [the defendant] to cross-examination, precisely what the hearsay rule forbids.”);

United States v. Torres, 435 F. Supp. 3d 526, 538 (S.D.N.Y. 2020) (“Finally, the Court agrees

with the Government that, in the event evidence of his flight is admitted, Torres may not

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automatically admit his alternative explanation for his flight, insofar as he wishes to bring in his

out-of-court statements to others on social media or to prison officials.”). The Government is

able to introduce the defendant’s statements as statements of an opposing party under Federal

Rule of Evidence 801(d)(2)(A). See Fed. R. Evid. 801(d)(2)(A) (defining as “not hearsay” a

statement “offered against an opposing party” and “made by the party”). But the Federal Rules

contain no parallel provision for the defendant. See Marin, 669 F.2d at 84. Instead, if the

defendant wishes to place her own statements before the jury, she must testify so the

Government may cross-examine her. See United States v. Yousef, 327 F.3d 56, 153 (2d Cir.

2003) (holding that defendant “could have testified to everything asserted in his statement, [but]

he could not offer the document itself for the truth of the matter asserted”), overruled on other

grounds by Montejo v. Louisiana, 556 U.S. 778 (2009).

       Notwithstanding the hearsay bar, a defendant may in limited circumstances invoke the

so-called “rule of completeness” to require the introduction of additional portions of his or her

own out-of-court statement when the Government offers excerpts of it. See Fed. R. Evid. 106

(“If a party introduces all or part of a writing or recorded statement, an adverse party may require

the introduction, at that time, of any other part—or any other writing or recorded statement—that

in fairness ought to be considered at the same time.”). “Under this principle, even though a

statement may be hearsay, an ‘omitted portion of [the] statement must be placed in evidence if

necessary to explain the admitted portion, to place the admitted portion in context, to avoid

misleading the jury, or to ensure fair and impartial understanding of the admitted portion.’”

United States v. Johnson, 507 F.3d 793, 796 (2d Cir. 2007) (alteration in original) (quoting


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United States v. Castro, 813 F.2d 571, 575-76 (2d Cir. 1987)). But this doctrine “has never

required the admission of portions of a statement that are neither explanatory of nor relevant to

the admitted passages.” United States v. Williams, 930 F.3d 44, 58 (2d Cir. 2019) (internal

quotation marks and alterations omitted); see id. at 61 (“[T]he rule of completeness does not

require the admission of self-serving exculpatory statements in all circumstances.” (emphasis in

original)). This rule is strictly applied, leading the Second Circuit to hold, for example, that a

defendant could not introduce a portion of his confession relating “to the execution of [a]

robbery,” where the portion introduced by the Government concerned only “plans to execute the

robbery.” Johnson, 507 F.3d at 796 (emphasis in original).

       The Government expects to offer certain of the defendant’s written statements contained

in her emails and oral statements through witness testimony. To the extent the defendant wishes

to offer her own out-of-court statements, they are hearsay, whether in emails, deposition

transcripts, or elsewhere.   And unless they accomplish the narrow function of the rule of

completeness, the Court should preclude them.          Given the limited admissibility of such

statements, and to avoid mid-trial delays, the Government requests that (a) to the extent the

defense seeks to admit such evidence during the Government’s case-in-chief during cross-

examination of witnesses, the defense preview with the Government and the Court prior to each

trial day any statement of the defendant it intends to admit, so that any evidentiary issues can be

addressed outside of the trial day; and (b) that the defendant be required to mark any such

statements that she intends to offer during her case-in-chief at the time of her Rule 26.2

disclosures.


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   IX.      The Court Should Preclude Evidence or Argument Sounding in Nullification

         The defendant may attempt to offer evidence of aspects of her life that may tend to elicit

the juror’s sympathy, such as her charitable works or evidence of her family history. Such

evidence should be excluded as irrelevant, confusing, and prejudicial.

         As discussed above, the Federal Rules of Evidence preclude the use of good acts to draw

a propensity inference in favor of the defendant, just as they preclude the use of prior bad acts for

the same purpose. See supra Section VII. Evidence and argument that makes the defendant

appear sympathetic for reasons unrelated to the charges at issue should also be excluded as

inviting the jury to acquit a defendant even where the evidence proves her guilt beyond a

reasonable doubt. Juries are not “to act based on their . . . sympathy.” United States v. Stroming,

838 F. App’x 624, 627 (2d Cir. 2021) (summary order); see, e.g., United States v. Mustaga, 753

F. App’x 22, 37 (2d Cir. 2018) (summary order) (“The district court correctly recognized that

evidence of solitary confinement could be used for the improper purpose of provoking juror

sympathy.”). Any attempt to encourage such sympathy is therefore an attempt at nullification,

which is itself plainly improper. See, e.g., United States v. Thomas, 116 F.3d 606, 615 (2d Cir.

1997) (Jury nullification is “by no means a right or something that a judge should encourage or

permit if it is within his authority to prevent.”); id. at 614 (“We categorically reject the idea that,

in a society committed to the rule of law, jury nullification is desirable or that courts may permit

it to occur when it is within their authority to prevent.”); see also United States v. Washington,

705 F.2d 489, 494 (D.C. Cir. 1983) (per curiam) (“A jury has no more ‘right’ to find a ‘guilty’

defendant ‘not guilty’ than it has to find a ‘not guilty’ defendant ‘guilty,’ and the fact that the

former cannot be corrected by a court, while the latter can be, does not create a right out of the
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power to misapply the law. Such verdicts are lawless, a denial of due process and constitute an

exercise of erroneously seized power.” (emphasis in original)).

       Even if a defendant offers character evidence, that evidence may not include specific

instances of good conduct, unless the defendant’s character is an “essential element” of the

offense. Fed. R. Evid. 404(a) & 405; see, e.g., United States v. Dawkins, 999 F.3d 767, 792 &

n.77 (2d Cir. 2021); United States v. Nachamie, 28 F. App’x 13, 20-21 (2d Cir. 2001) (summary

order). Character evidence is only admissible “by testimony about the person’s reputation or by

testimony in the form of an opinion.” Fed. R. Evid. 405(a); see, e.g., United States v. Riley, 638

F. App’x 56, 64 (2d Cir. 2016) (summary order) (“The limitations imposed by the district court

followed directly from the Rules of Evidence, which permit a defendant to offer evidence of a

personal opinion or his reputation for a pertinent character trait, but not to offer testimony

regarding ‘specific instances’ of conduct in conformity with a trait that is not at issue.” (citations

omitted)).

       The Government is unaware of any relevant reason for the jury to consider the

defendant’s charitable activities, family history, or similar facts. Because those facts have

nothing to do with her guilt or innocence, and they are not permissible character evidence, she

should be precluded from mentioning such subjects in her opening statement, during the

presentation of evidence, or in closing statements, absent a ruling that a specific fact is relevant

and more probative than unfairly prejudicial.




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                                        CONCLUSION

   For the reasons set forth above, the Government respectfully requests that the Court grant the

Government’s in limine motions.

Dated: October 18, 2021
       New York, New York


                                                          Respectfully submitted,

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